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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 SOUTHEASTERN MOTOR FREIGHT, §                       CIVIL ACTION NO.
 INC.
                         Plaintiff              §

 VERSUS                                         §    JUDGE:

                                                §
 DANNY       PATRICK         KEATING, JR.
 DAMIAN K. LABEAUD and MARIO                    §    MAGISTRATE:
 SOLOMON
                         Defendants



                           PLAINTIFF’S ORIGINAL COMPLAINT


        NOW INTO COURT, through undersigned counsel, comes Southeastern Motor Freight,

Inc.(“Southeastern”), a Louisiana company organized and existing under the laws of the State of

Louisiana, with its principal place of business in the Eastern District of the State of Louisiana,

which alleges and avers as follows:

                                          I. PARTIES


                                                1.


        Made “Defendants” herein are:


        A.   Danny Patrick Keating, Jr. an individual of the full age of majority domiciled in the

             State of Louisiana, who at all relevant times was an attorney at the Nugent Keating

             law firm.


        B.   Damian K. Labeaud, an individual of the full age of majority domiciled in the State

             of Louisiana.


        C.   Mario Solomon, an individual of the full age of majority domiciled in the State of

             Louisiana.



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                                II. JURISDICTION AND VENUE


                                                   2.


        Pursuant to Title 28, United States Code, Section 1331, this Court has subject matter

Jurisdiction over the claims alleged in Counts One and Two because such claims arise under the

laws of the United States, specifically Title 18, United States Code, Sections 1962(c) and (d) and
1964.


                                                   3.


        Pursuant to Title 28, United States Code, Section 1367, this Court has subject matter

Jurisdiction over the state fraud, conspiracy, and racketeering claims alleged in Counts Three

through Ten, because they are so related to the RICO claims they form part of the same case or

controversy.

                                                   4.


        Venue is proper in the Eastern District of Louisiana pursuant to Title 28, United States

Code, Section 1391(a) and (c) in that a substantial part of the events or omissions giving rise to

the claims alleged herein occurred within this District. Venue is also proper pursuant to Title 18,

United States Code, Section 1965.

        III. STATEMENT OF FACTS COMMON TO ALL CAUSES OF ACTION

A.      General Background:

                                                   5.


        D. Patrick Keating (“Mr. Keating”) and Simone R. Nugent (“Ms. Nugent”) are attorneys

licensed to practice law in the State of Louisiana, who, at all times at issue herein, were the

attorneys of record for all Plaintiffs in the underlying litigation in the United States Eastern District

of Louisiana in the matter entitled Judy Williams, et al, versus IQS Insurance et al, Civil Action


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No. 18-2472, arising out of an “accident’' which occurred on July 6, 2017 (“the Judy Williams

lawsuit”), and were the attorneys of record for all Plaintiffs in the underlying litigation entitled

Larry Williams, Genelta Isreal and Anita Scott v. Michael Smith, Southeastern Motor Freight,

Inc., and Hudson Insurance Company, Suit No. 2018-5803, Div. L-6, Civil District Court for the

Parish of Orleans, State of Louisiana, arising out of an “accident” which occurred on July 12, 2017

(“the Larry Williams lawsuit”).

                                                6.


       Plaintiff, Southeastern Motor Freight, Inc. (“Southeastern”), was the employer of tractor

trailer driver, Michael Smith, and named insured of Hudson Insurance Company. It was a named

Defendant in “the Larry Williams lawsuit”. Pursuant to the insurance contract, Southeastern had

substantial SIR deductible and paid for all attorney’s fees, costs and expenses relating to the

defense of all Defendants in “the Larry Williams lawsuit”.

B.      The Larry Williams lawsuit” arising out of the June 12, 2017, “accident”:

                                                7.


       The alleged subject accident occurred at or around 11:30 a.m. on June 12, 2017, between

the Danziger bridge and the intersection of Chef Menteur Highway and Downman Road in New

Orleans. The accident involved a 2005 Chevy Trailblazer which was operated by Plaintiff, Larry

Williams, in which the other Plaintiffs, Genetta Isreal and Anitta Scott, were guest passengers. A

Petition for Damages was filed by attorneys, Keating and Nugent of the Keating Nugent law firm,

on behalf of all Plaintiffs, naming as Defendants, Michael Smith, Southeastern Motor Freight, Inc.,

and Hudson Insurance Company. Plaintiffs alleged in their Petition for Damages that Defendant,

Michael Smith, was in the course and scope of his employment with Southeastern Motor Freight,

Inc., and insured by Hudson Insurance Company, while operating a tractor trailer eastbound on


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Chef Menteur Highway. Plaintiffs alleged that Mr. Smith was traveling in the center westbound

lane of Chef Hwy, and that he changed lanes and sideswiped Plaintiffs’ vehicle traveling in the

right westbound lane of Chef Hwy. Plaintiffs alleged that Mr. Smith was negligent and the sole

cause of the accident at issue, and alleged numerous damages in discovery including property

damage and bodily injury. Larry Williams alleged injuries to his back, left shoulder and right knee,

along with medical expenses of at least $92,939.00, which includes a shoulder surgery. Anita Scott

alleged injuries to her back and right shoulder, along with medical expenses of at least $11,433.00.

Genetta Isreal alleged damages to her back and right leg, along with medical expenses of at least

$6,755.00.




       Defendants obtained the dash cam video from the tractor trailer and surveillance video


from the adjacent Ibrahim Tire Store which showed the accident at issue. These videos show the

moments before, during and after the accident at issue. At this general location and prior to the

intersection. Chef Hwy has three westbound lanes and goes over the Danziger bridge approaching

the intersection. As shown on the videos, immediately prior to the accident Mr. Smith was

operating his tractor trailer and entered Chef Hwy on the Danziger bridge in the far right westbound

lane. As he reached the top of the bridge, two vehicles can be seen in front of him stopped in the

right lane of the bridge - - a Chevy pickup with its hazard lights on, and Plaintiffs’ Chevy

Trailblazer stopped in front of the pickup. There were no other vehicles stopped in front of these

vehicles and no traffic to explain why they were stopped on the bridge. Mr. Smith changed lanes

into the center lane to go around the two stopped vehicles, with the intent of taking a right at the

next intersection at Downman to get onto I-10. As Mr. Smith was passing by the two stopped

vehicles. Plaintiff began to move his trailblazer forward. The video from the business shows that


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Mr. Smith then passed the vehicles and changed lanes back into the right lane as he approached

the Dow'nman intersection. The light at the intersection then turned red, and Mr. Smith brought his

tractor trailer to a stop at the intersection. At that time, Plaintiffs’ Trailblazer came from behind.

swerved to the right, and rear ended the trailer, and then continued contact with the passenger side

of the trailer down the driver’s side of the Trailblazer, damaging the driver’s side fender well and

side view mirror of the Trailblazer.

                                                 9.


       The videos show that immediately after the impact, the Chevy pickup, pulls next to the

tractor trailer and the driver of the pickup speaks with Mr. Smith. The driver of the Chevy pickup

alleges to Mr. Smith that he struck Plaintiffs’ vehicle. An argument ensues, and the Chevy pickup

leaves the scene. Through investigation, it was discovered that the owner of the Chevy pickup is

Mario Salomon, who’s cell phone number is 504-518-1105. It was further discovered that Damian

Labeaud, who had two cell phone numbers at the time of the incident(504-518-9990 and 504-723-

6443), was also present at the accident scene.

                                                 10.


       The depositions of all Plaintiffs were taken on December 20, 2018. All three Plaintiffs

consistently testified that their Trailblazer did not rear end the tractor-trailer. Rather, all three

testified that their Trailblazer was never stopped on the Danziger bridge in front of a Chevy pickup,

nor was it ever stopped at all on the Danziger bridge. Rather, all Plaintiffs testified that their

Trailblazer was moving forward in the right hand lane toward the intersection of Downman, when

the tractor trailer changed from the center lane into their right hand lane and side swiped the

driver’s side of their Trailblazer, thereby causing the accident and their injuries. Attorney, Simone

Nugent, represented all Plaintiffs in their depositions.


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                                                     11.


        Plaintiff, Larry Williams, testified that his cell phone number was 504-240-8280, and

defendants obtained a copy of his cell phone records. Mr. Williams testified that he was the driver

the Trailblazer and denied any knowledge of the Chevy pickup behind his Trailblazer before the

accident, which has recently been discovered to have been operated by Damian LaBeaud and/or

Mario Solomon. Furthermore, the cell phone records show that Mr. Williams and Mr. LaBeaud

had communicated by cell phone on numerous occasions, both before and the accident at issue of
                                                                                                      ih     ih
June 12, 2017. Just in the months of May and June, 2017, calls were made on May 12‘'\ 13                   14


and 19“’, 2017, and June 2"“, 12‘“, 15“’, 16“’, 18“’, 20“’, 2L’, 22’’“, 24“’, 25“’, 27“’, 28“’ and 30“’, 2017.

                                                     12.


        Regarding the date of the accident at issue on June 12, 2017, the records indicate that Mr.

Labeaud used his cell phone number 504-518-9990, and called Mr. Williams on his cell phone at

11:37 a.m. CST (16:37 UTC), i.e., less than 10 minutes after the impact.

                                                     13.


        Moreover, the records from Mr. Labeaud’s other cell phone (504-723-6443), indicate that

he communicated with attorneys shortly before and after the accident. The records indicate that

Mr. Labeaud called attorneys at 11:21 a.m. and 11:25 a.m., approximately 9 and 5 minutes prior

to the accident. Following the accident at 11:30 a.m., Mr. Labeaud again called attorneys at 12:03

p.m., 12:06 p.m., 1:00 p.m., 1:01 p.m., 1:03 p.m., and 1:04 p.m.

                                                     14.


        A nearly identical staged accident occurred on June 6, 2017, a week before the Larry

Williams accident, at the same location. This accident and bodily injury claims is currently in

litigation in the United States Eastern District of Louisiana in the matter entitled Judy Williams, el


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al, versus IQS Insurance et al. Civil Action No. 18-2472. The Defendants in that litigation filed

an Amended Answer alleging fraud. The “accident” a week earlier also involved Damian Labeaud

operating the same Chevy pick-up, and informing the tractor-trailer driver that he allegedly struck

a vehicle operated by Plaintiff, Mary Wade, with several guest passengers. Furthermore, attorneys

Ms. Nugent and Mr. Keating represented all Plaintiffs in the lawsuit arising out of the “accident”

a week earlier on June 6, 2017.

                                                      15.


        Investigation revealed that Mr. Labeaud has filed five (5) personal injury lawsuits as a

plaintiff during the past eight (8) years, all of which involve similar sideswipe automobile

accidents at or near the location ofthe alleged subject accident in the instant lawsuit.' Additionally,

Mr. Labeaud’s relatives and/or associates have filed other lawsuits as plaintiffs involving accidents

with strikingly similar factual scenarios as the subject accident alleged in this case.^
C.      Subsequent Federal Indictments arising out of“the Larry Williams lawsuit” and “the
        Judy Williams lawsuit”:
                                                      16.


        On or about October 24, 2019, and December 5, 2019, the U.S. Attorney’s Office for the

Eastern District of Louisiana issued indictments in the alleged fraud scheme involving staged

accidents in “the Larry Williams lawsuit” and the “Judy Williams lawsuit” (hereinafter referred to

as “the indictment”). The criminal matter regarding these staged accidents is entitled United Slates



' See Damian LaBeaud v. American International Group, Inc. et al., CDC Docket #10-1 1083; Damian LaBeaiid v.
Great West Casualty Company, et al; CDC Docket #12-6987 (removed to EDLA, Docket #12-02044); Damian
LaBeaud v. Allstate Fire and Casualty Ins. Co.: CDC Docket #18-5963; Damian LaBeaud v. Hallmark Specialty
Insurance Company, et al.\ CDC Docket #16-7003; Damian LaBeaudv. The Hertz Corporation: CDC Docket #15-
 1 1372(removed to EDLA 16-00322).
- Damian LaBeaud v. Marten Transport, LTD, et al.\ CDC Docket #16-3758(NOTE: Damian LaBeaud in that case
is Damian LaBeaud’s Daughter); Michael Dumas and Kim Dumas v. AIG Insurance Company, et al; CDC Docket
#17-81 13 (Michael Dumas and Kim Dumas are Damian LaBeaud’s uncle and aunt); Sabrina Randolph v. Great West
Casualty Co: CDC Docket #17-4303 (Sabrina Randolph is known to be Damian LaBeaud’s girlfriend); Sabrina
Randolph v. Energi In. Services et al.; CDC Docket #16-4982; Angel Mathieu v. Scottsdale Insurance Company et al:
CDC Docket #08-3000(Angel Mathieu is known to be Damian LaBeaud’s girlfriend).
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of America v. Damian Labeaud, Lucinda Thomas, Mary Wade, Judy Williams, Dashonlae Young,

Genetta Isreal, Mario Solomon and Larry Williams, Criminal No. 19-219, Section L, United States

District Court, Eastern District of Louisiana. The indicted Plaintiffs/vehicle occupants in the “Judy

Williams lawsuit” arising out of the “accident” of June 6, 2017, were Lucinda Thomas, Mary

Wade, Judy Williams and Dashontae Young for their involvement in staging the June 6, 2017,

accident at issue. The indicted Plaintiffs/vehicle occupants in the “Larry Williams lawsuit” arising

out of the “accident” of June 12, 2017, were Larry Williams and Genetta Isreal (Plaintiff, Anita

Scott, died prior to the indictments being issued) for their involvement in staging the June 12,

2017, accident at issue. Additionally, Mario Solomon and Damian Labeaud were indicted for their

involvement in recruiting, coordinating and staging both accidents of June 6, 2017, and June 12

2017.


                                                17.


        Within the indictment, references were made to “Attorney A,” believed to be Mr. Keating,

and also to “Attorney B,” believed to be Ms. Nugent. The indictment alleged that “Attorney A”

met with Mr. Labeaud prior to both staged accidents and agreed that “Attorney A” would pay Mr.

Labeaud $1,000.00 per passenger for each staged accident involving tractor-trailers (and $500.00

per passenger for staged accidents involving non-tractor-trailers). Moreover, it was alleged that

 Attorney A” knew that Mr. Labeaud was staging accidents, and that “Attorney A” paid Mr.

Labeaud for at least forty (40) illegally staged automobile accidents.



        Regarding “the Larry Williams lawsuit” and staged accident of June 12, 2017, the

indictment alleges that Mr. Labeaud, Mr. Solomon, Mr. Williams and Ms. Isreal were all charged

with staging an accident on June 12, 2017, that occurred on Chef Mentuer Highway near the


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Danziger Bridge in New Orleans. According to the indictment, Mr. Labeaud and Mr. Williams

planned to stage an automobile accident to obtain money through fraud. During their plannin        to?




Mr. Labeaud told Mr. Williams that he had an attorney who would handle everything. The

indictment alleges that Mr. Williams recruited Ms. Isreal and another individual who is now

deceased (Ms. Scott), to participate in the fraudulent scheme, that Mr. Williams borrowed a

Chevrolet Trailblazer, and that Mr. Labeaud operated the Trailblazer to collide with a 2015

Peterbilt tractor-trailer. After the staged accident, Mr. Labeaud fled the scene and Mr. Williams

got behind the wheel to make it appear that he was operating the Trailblazer during the staged

accident. Mr. Solomon picked up Mr. Labeaud after the staged accident. Mr. Williams told the

NOPD that he was the driver of the Trailblazer and that the tractor-trailer was at fault. After the


staged accident, Mr. Labeaud introduced Mr. Williams and Ms. Isreal to "Attorney A”.

                                                19.


       The indictment further alleged that Mr. Williams and Ms. Isreal were treated by doctors

and healthcare providers at the direction of"Attorney A”. According to the indictment,"Attorney

A” told Mr. Williams that he would get more money if he had shoulder surgery. The indictment

further alleges that on June 12, 2018, "Attorney A’s” law partner, "Attorney B,” filed the Larry

Williams lawsuit in the Civil District Court for Orleans Parish, and on September 14, 2018,

“Attorney B” demanded approximately $60,000.00 in settlement for the deceased passenger and

approximately $56,155.00 in settlement for Ms. Isreal. Furthermore, the indictment alleges that

after suit was filed, Mr. Williams and Ms. Isreal each provided false testimony in depositions taken

in conjunction with the lawsuit filed by "Attorney B”.

                                                20.


       Regarding “the Judy Williams lawsuit” and staged accident of June 6, 2017, the indictment


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alleges that Mr. Labeaud, Mr. Solomon, Ms. Thomas, Ms. Wade, Ms. Williams and Ms. Young

were all charged with staging an accident on June 6, 2017,that occurred on Chef Mentuer Highway

near the Danziger Bridge in New Orleans. According to the indictment, Ms. Thomas, Ms. Wade

Ms. Williams and Ms. Young all drove from Houma, Louisiana, to meet with Mr. Labeaud for the

purpose of staging an automobile accident in order to obtain money through fraud. After their

meeting, Ms. Thomas, Ms. Wade, Ms. Williams and Ms. Young agreed to allow Mr. Labeaud to

drive Ms. Thomas’ Chevrolet Avalance. They drove around the vicinity of Chef Menteur Highway

until they located a tractor-trailer, which Mr. Labeaud then intentionally collided with. Mr.

Labeaud then exited Ms. Thomas’ vehicle and instructed Ms. Thomas to get behind the wheel of

the vehicle to make it appear that she was driving. The indictment alleges that they then contacted

the NOPD and falsely reported that Ms. Thomas had been the driver of the Avalanche and that the

tractor-trailer had struck her vehicle. Moreover, Mr. Labeaud returned to the scene and also made

false statements to the NOPD that he had witnessed the accident and that the driver of the tractor-

trailer had been at fault.


                                               21.


        The indictment further alleges before and after the staged accident of June 6, 2017, that

Mr. Labeaud contacted “Attorney A” and arranged a meeting with Ms. Thomas, Ms. Wade, Ms.

Williams and Ms. Young at a restaurant on Chef Menteur Llighway. The indictment alleges that

’Attorney A” paid Mr. Labeaud $7,500.00 on the day of the staged accident. According to the

indictment, “Attorney A” then demanded approximately $1,000,000.00 per plaintiff in settlement

for the claims of Ms. Thomas, Ms. Wade and Ms. Williams. “Attorney A” then filed two lawsuits

in the CDC arising out of the June 6, 2017, staged accident, both of which were removed to the

U.S. District Court for the Eastern District of Louisiana. The indictment further alleges that Ms.


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Thomas, Ms. Wade and Ms. Williams each provided false testimony in various depositions taken

in conjunction with the lawsuits filed by “Attorney A”.

                                               22.


       The indictment further alleges that “Attorney A” contacted Mr. Labeaud because “Attorney

A” was worried about a telephone call made by Ms. Wade to Mr. Labeaud prior to the staged

accident, and that “Attorney A” instructed Mr. Labeaud to contact Ms. Thomas and Ms. Wade to

instruct them to “get their stories straight”. The indictment alleges that during a subsequent

meeting, “Attorney A” gave Mr. Labeaud an envelope containing phone records, pleadings, and

depositions establishing that Ms. Thomas and Ms. Waid lied under oath in their September 13,

2018, depositions. The indictment alleges that “Attorney A” then met with Ms. Thomas and Ms.

Wade at a fast-food restaurant outside of New Orleans where “Attorney A” suggested to Ms.

Thomas and Ms. Wade a fraudulent scheme to explain a telephone call from Ms. Wade to Mr.

Labeaud prior to the staged accident.

                                               23.


       The indictment further alleges that on or about April 9, 2019, Ms. Thomas, Ms. Wade and

Ms. Williams each provided false testimony in depositions taken in conjunction with the lawsuits

filed by “Attorney A,” and that Ms. Thomas, Ms. Wade and Ms. Williams settled their lawsuits

arising out of the staged accident for $7,500.00 each.

                                               24.


       Pursuant to the indictment, Mr. Labeaud and Mr. Solomon were charged with one(1)count

of Conspiracy to Commit Wire Fraud (“Conspiracy Counf’) in violation of Title 18, United States

Code, Section 371, and seven (7) counts of Wire Fraud (“Wire Fraud Counts”) in violation of Title

18, United States Code, Section 1343. Ms. Thomas, Ms. Wade, Ms. Williams and Ms. Young were


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charged in the Conspiracy Count and six (6) Wire Fraud Counts. Ms. Isreal and Mr. Williams were

charged in the Conspiracy Counts and two (2) Wire Fraud Counts.

D.     Subsequent Guilty Pleas and signed eonfessions and “Factual Basis” of the
       Plaintiffs/vehicle occupants in the staged accidents to the Federal Indictments against
       them for conspiracy to commit wire fraud arising out of“the Larry Williams lawsuit”
       and “the Judy Williams lawsuit”:

                                                25.


       On or about January 30, 2020, guilty pleas were entered by live of the six indicted Plaintiffs

in “the Larry Williams lawsuit” arising out of the June 12, 2017,staged accident, and the Plaintiffs

in the “the Judy Williams lawsuit” arising out of the June 6, 2017, staged accident; i.e., Larry

Williams, Lucinda Thomas, Mary Wade, Judy Williams and Dashontae Young all plead guilty to

Conspiracy to Commit Wire Fraud, in violation of Title 18, United States Code, Section 371,

arising out of staged accidents at issue. Each of the five (5) signed extensive confessions as a

“Factual Basis” regarding their guilty pleas, which admitted to the facts set forth above regarding

the indictments, their respective involvement in staging the accidents of June 6, 2017, and June

12, 2017, along with the conspiracy to commit wire fraud in connection with these staged

accidents, and the involvement of the attorneys, Damian Labeaud and Mario Solomon in

coordinating the scheme to stage these accidents and commit wire fraud in connection with these

staged accidents. The “Factual Basis” and confessions signed on January 30, 2020, by Larry

Williams, Lucinda Thomas, Mary Wade,Judy Williams and Dashontae Young,are all plead herein

as if copied in extenso.

                                                26.


       In the “Factual Basis” signed by Larry Williams regarding his guilty plea of January 30,

2020, Larry Williams admitted to the following facts in his confession regarding his involvement

in the staged accident of June 12, 2017, which targeted the tractor trailer owned by Southeastern

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Motor Freight, Inc., and operated by an employee of Southeastern Motor Freight, Inc.:

                                                        26(a).

         That he, along with his co-conspirators and others, beginning in approximately June, 2017,

and continuing through approximately, December, 2018, in the Eastern District of Louisiana, and

elsewhere, conspired to commit wire fraud in connection with a staged accident that occurred on

June 12, 2017, in which Mr. Williams was a passenger.

                                                        26(b).

         That, prior to June 12, 2017, Mr. Williams and Mr. Labeaud agreed on a plan in which Mr.

Labeaud would intentionally collide with a tractor-trailer with Mr. Williams in the vehicle at the

time of the staged accident. That, as part of this agreement, following the staged accident, Mr.

Williams would attempt to recover monetary damages from the owner and insurer of the tractor-

trailer in connection with purported injuries suffered as a result of the staged accident. That, Mr.

Labeaud told Mr. Williams that he had an attorney, “Attorney A,” who would handle everything

regarding a potential recovery in connection with the staged accident.

                                                        26(c).

         That, on June 10, 2017, Mr. Williams who had borrowed a Trailblazer, drove with his co

conspirators, Genetta Isreal and Anita Scott, and crossed state lines by traveling from Llouston,

Texas, to New Orleans, Louisiana, for the purpose of having Mr. Labeaud drive the Trailblazer

and stage an accident that Mr. Williams and Mr. Labeaud had previously discussed. That, on June

12, 2017, Mr. Williams, Ms. Isreal and Ms. Scott met Mr. Labeaud in the Trailblazer in New

Orleans. That, Mr. Labeaud drove the Trailblazer in the eastbound far right-lane on Chef Menteur
                                                                                                                  3
Highway waiting to locate a tractor-trailer with which Mr. Labeaud would stage an accident.


^ Prior to travelling to Houston, Texas, Mr. Williams made interstate phone calls to Ms. Scott to facilitate the pick up
of Ms. Scott and Ms. Isreal in Texas to bring them to Louisiana for the purpose of intentionally staging the accident.
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                                               26(d).

       That, at approximately 11:30 a.m., Mr. Labeaud located and intentionally collided with a

2015 Peterbilt tractor-trailer owned by Southeastern Motor Freight, Inc., which was driving east

on Chef Menteur Highway. That, immediately after the accident, Mr. Labeaud exited the

Trailblazer and left the scene of the accident. That, Mr. Williams switched into the driver's seat of

the Trailblazer to make it appear as though Mr. Williams was driving the vehicle at the time of the

accident. That, immediately after the accident on .lune 12, 2017, Mr. Williams, Ms. Isreal and Ms.

Scott contacted the NOPD to report the accident. That, the NOPD arrived on the scene shortly

thereafter and that Mr. Williams lied to NOPD officers stating that he had been the driver of the

Trailblazer at the time of the accident. That, at no time did Mr. Williams tell the NOPD officers

that Mr. Labeaud had been the driver of the Trailblazer at the time of the accident.


                                               26(e).

       That, after the accident, Mr. Labeaud contacted “Attorney A” and arranged a meeting at

“Attorney A’s” office. That, Mr. Labeaud, Mr. Williams, Ms. Isreal and Ms. Scott went to

“Attorney A's” office in order to sign the necessary paperwork to retain “Attorney A" to represent

Mr. Williams, Ms. Isreal and Ms. Scott in connection with seeking monetary damages from the

owner and insurer of the 2015 Peterbilt tractor-trailer in connection with the staged accident that

had taken place on .June 12, 2017. That, Mr. Williams, Ms. Isreal and Ms. Scott all hired “Attorney

A” to represent them.

                                               26(0.

       That, on June 12, 2018, “Attorney B,” an attorney who worked with “Attorney A," filed a

personal injury lawsuit on behalf of Mr. Williams, Ms. Isreal and Ms. Scott against Southeastern

Motor Freight, Inc., and its insurers, Hudson Insurance Company and Napa River Insurance


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Services in the Civil District Court for Orleans Parish (“the Larry Williams lawsuit”). That, the

allegations in “the Larry Williams lawsuit” were false in that they did not contain information

about how Labeaud intentionally caused the June 12, 2017, accident with the Peterbilt tractor-

trailer. That furthermore, “the Larry Williams lawsuit” falsely alleged that Mr. Williams had been

the driver of the Trailblazer during the accident and omitted material information about how Mr.

Williams had agreed to stage the accident with Mr. Labeaud. That, on June 27, 2018, an employee

of Southeastern Motor Freight, Inc., in Jefferson, Louisiana, sent an email that traveled across state

lines to an employee of NAPA in Indianapolis, Indiana that attached “the Larry Williams lawsuit”.

                                               26(g).

       That, moreover, “Attorney A” told the Defendant that he would get more money through

the lawsuit if he had surgery. That, to increase the value of “the Larry Williams lawsuit,” at

 Attorney A’s” direction, Mr. Williams underwent shoulder surgery performed by “Physician B”

referred by “Attorney A”. That, on September 20, 2018, Mr. Williams was deposed in connection

with “the Larry Williams lawsuit”. That, Mr. Williams lied during that deposition and omitted key

material facts. That, namely, Mr. Williams provided false testimony about the circumstances of

the June 12, 2017, accident and covered up the fact that Mr. Labeaud had been the driver of this

staged accident. That, during the course of “the Larry Williams lawsuit,” “Attorney B” made a

settlement demand attempting to resolve the case.

                                               26(h).

       That, Mr. Williams conspired to commit wire fraud by causing the filing of “the Larry

Williams lawsuit” seeking monetary damages that was premised on falsehoods in connection with

the June 12, 2017, staged automobile accident, providing false information during the course of

 the Larry Williams lawsuit” in an effort to recover monetary damages against the owner and


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operator of the 2015 Peterbilt tractor-trailer, and causing the use of interstate wire communications

to facilitate his recovery with this staged accident.

                                                 27.


       Southeastern Motor Freight, Inc., shows, alleges and avers herein that the guilty plea and

specifically the signed confession and "Factual Basis” of Mr. Williams on or about January 30,

2018, was the first notice to Defendants of any admission that the accident of June 12, 2017, was

in fact a staged accident, an admission that a fraudulent scheme existed regarding the staged

accident of June 12, 2017, or an admission that “Attorney A” or “Attorney B” were involved in

the fraudulent scheme regarding the staged accident of June 12, 2017. Moreover, the more detailed

involvement of Defendants herein, “Attorney A’VD. Patrick Keating, Damian Labeaud and Mario

Solomon, was unknown to Southeastern Motor Freight, Inc., until the guilty plea and signed

confession and “Factual Basis” of Mario Solomon on or about May 28, 2020, and the guilty plea

and signed confession and “Factual Basis” of Damian Labeaud on or about August 6, 2020, set

forth below.


E.     Subsequent Guilty Plea and signed confession and “Factual Basis” of Mario Solomon
       to the Federal Indictment against him for conspiracy to commit wire fraud arising
       out of “the Larry Williams lawsuit” and “the Judy Williams lawsuit”:

                                                 28.


       On or about May 28, 2020, a guilty plea was entered by Mario Solomon for Conspiracy to

Commit Wire Fraud, in violation of Title 18, United States Code, Section 371, arising out of his

involvement in the staged accident at issue in “the Larry Williams lawsuit” arising out of the June

12, 2017, staged accident, and his involvement in the staged accident at issue in the “the Judy

Williams lawsuit” arising out of the June 6, 2017, staged accident.




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                                                29.


        The guilty plea of Mr. Solomon was filed into the court records on or about May 29, 2020,

along with the “Factual Basis” signed by Mr. Solomon on or about May 21, 2020, supporting his

guilty plea, wherein Mr. Solomon admitted to the following facts in his confession regarding the

staged accidents ofJune 6, 2017, and June 12, 2017, along with his involvement in numerous other

staged accidents:

        I.
                    Mr. Solomon’s signed confession and “Factual Basis” regarding the
                    background facts of the conspiracy to commit fraud:

                                              29(a).

        That he, along with his co-conspirators and others, conspired to commit wire fraud in

connection with staged accidents in the Eastern District of Louisiana and elsewhere, including two

that occurred on June 6, 2017, and June 12, 2017. That in or around early 2017, Mr. Solomon

traveled with Damian Labeaud to a restaurant where Mr. Labeaud met with “Attorney A” to

discuss Mr. Labeaud’s involvement with staging accidents with 18-wheeler tractor trailers. That,

Mr. Solomon was present at the restaurant for this meeting, but did not sit with Mr. Labeaud and

“Attorney A” as they discussed how Mr. Labeaud would stage car accidents with 18-wheeler

tractor-trailers.


                                              29(b).

        That, as part of that agreement, Mr. Solomon learned that “Attorney A” would pay Mr.

Labeaud for his role in being the driver of the vehicle in the staged accidents and that Mr. Labeaud

would receive advances from “Attorney A”. That, Mr. Labeaud recruited Mr. Solomon to serve as

a “spotter”. That, as a “spotter,” Mr. Solomon would follow Mr. Labeaud in a separate vehicle as

Mr. Labeaud prepared to stage accidents with 18-wheeler tractor-trailers. That, after the accidents.

Mr. Solomon would pick up Mr. Labeaud after Mr. Labeaud exited the vehicle in which he had

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staged an accident. That, in exchange for serving as a “spotter,” Mr. Labeaud paid Mr. Solomon.

That, Mr. Solomon served as a “spotter” in at least two car accidents that Mr. Labeaud staged with

the 18-wheeler tractor-trailers.

       11.
               Mr. Solomon’s signed confession and “Factual Basis” regarding the
               conspiracy to commit fraud in the June 6, 2017, staged accident:

                                                29(c).

       That, on June 6, 2017, the day of the staged accident, Mr. Solomon and Mr. Labeaud called

one another ten times between 9:13 a.m. and 12:26 p.m. That, during those conversations, Mr.

Solomon and Mr. Labeaud discussed the accident that Mr. Labeaud planned to stage that day with

Mr. Solomon’s assistance. That, prior to the accident, Mr. Labeaud and Mr. Solomon met Lucinda

Thomas, Mary Wade,Judy Williams, and Dashontae Young at a restaurant. That, at approximately

12:30 p.m. that day, Mr. Labeaud drove with Lucinda Thomas, Mary Wade, Judy Williams and

Dashontae Young in Lucinda Thomas’s vehicle, a 2009 Chevrolet Avalanche (“the Avalanche”)

east on Chef Menteur Highway in New Orleans and intentionally collided with a 2017 Freightliner

tractor-trailer that was merging onto Chef Menteur Highway. That, Mr. Solomon was following

Mr. Labeaud in his silver Chevrolet Silverado pick-up truck.

                                                29(d).

       That, immediately after the accident, Mr. Labeaud exited the Avalanche and left the scene

of the accident. That, between 12:39 p.m. and 1:29 p.m., Mr. Labeaud and Mr. Solomon called

one another seven times. That, during this timeframe, Mr. Solomon picked up Mr. Labeaud in Mr.

Solomon’s silver Chevrolet Silverado pick-up truck. That, at approximately 1:45 p.m., Mr.

Solomon returned to the scene of the staged accident with Mr. Labeaud. That, at that time, Mr.

Labeaud made false statements to the NOPD officers who were on the scene stating that the driver

of the 2017 Freightliner tractor-trailer had been at fault.

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                                               29(e).

       That, following the June 6, 2017, Mr. Solomon and Mr. Labeaud met with “Attorney A'

and “Attorney A” paid Mr. Labeaud $7,500.00 for staging the June 6, 2017, accident and another

accident. That, using the funds that Mr. Labeaud received from “Attorney A,” Mr. Labeaud then

paid Mr. Solomon for serving as the “spotter”. That, following this June 6, 2017, staged accident,

Lucinda Thomas, Mary Wade, Judy Williams and Dashontae Young all hired “Attorney A” to

represent them.

                                               29(0.

       That, in representing Lucinda Thomas, Mary Wade, Judy Williams and Dashontae Young,

“Attorney A” caused interstate wires to be transmitted to recover monetary damages for Lucinda

Thomas, Mary Wade,Judy Williams and Deshontae Young in connection with the staged accident.

That namely “Attorney A” negotiated a settlement on behalf of Dashontae Young prior to filing a

lawsuit. That, on approximately November 27, 2017, “Attorney A” settled Dashontae Young's

claim with Covent, the parent company of SRT, which operated the 2017 Freightliner tractor-

trailer involved in the June 6, 2017,staged accident. That, in connection with that settlement, after

November 27, 2017,“Attorney A” deposited a $20,000.00 settlement check for Dashontae Young

that “Attorney A” received for settling her claim. That, in effectuating the settlement, Dashontae

Young caused Covenant to issue from its Chase account check number 50047 dated November 17,

2017, in the amount of $20,000.00. That, “Attorney A” then deposited that check into an Iberia

account. That, in depositing the check into the Iberia account, “Attorney A” caused an electronic

wire communication to be sent from Louisiana to the Federal Reserve in Atlanta, Georgia.

                                               29(g).

       That,“Attorney A” also filed lawsuits on behalf of Lucinda Thomas, Mary Wade and Judy


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Williams against SRT, Covenant, IQS Insurance Risk Retention Group, Inc. (^'IQS'’)- SRT And

Covenant’s insurer - seeking to obtain monetary damages in connection with the June 6, 2017,

staged accidents. That, on or about April 4, 2019, Mr. Solomon was deposed in connection with

the lawsuit that “Attorney A”filed on behalf ofJudy Williams and Mary Wade. That, Mr. Solomon

was in custody at the time of the deposition as the result of an unrelated narcotics conviction. That,

prior to the deposition, “Attorney A” visited with Mr. Solomon and they discussed what Mr.

Solomon should say in that deposition regarding the June 6, 2017, staged accident. That, during

the deposition, Mr. Solomon lied and stated that he was not driving with Mr. Labeaud on June 6,

2017, following the staged accident, that he did not witness the June 6, 2017, staged accident, and

that he did not return to the scene with Mr. Labeaud following the June 6, 2017, staged accident.

       111.
               Mr. Solomon’s signed confession and Factual Basis” regarding the
               conspiracy to commit fraud in the June 12 2017, staged accident:

                                               29(h).

       That, on the date of the staged accident of June 12, 2017, Mr. Solomon and Mr. Labeaud

called one another five times between 10:02 a.m. and 11:01 a.m. That, during these conversations.

Mr. Solomon and Mr. Labeaud discussed the accident that Mr. Labeaud planned to stage that day.

That, at approximately       11:30 a.m., Mr. Labeaud drove a 2005 Chevrolet Trailblazer

(“Trailblazer”) with Larry Williams, Genetta Isreal and another individual as passengers to the

Danziger Bridge and parked the Trailblazer in the far right-lane heading east on Chef Menteur

Highway to locate an 18-wheeler tractor-trailer to collide with. That, at around the same time, Mr.

Solomon waited in his Chevrolet Silverado pick-up truck on the Danziger Bridge immediately

behind the Trailblazer operated by Mr. Labeaud. That, at approximately 11:30 a.m., Mr. Labeaud

located and intentionally collided with a 2015 Peterbilt tractor-trailer owned by Southeastern

Motor Freight, Inc. driving east on Chef Menteur Highway.

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                                              29(i).

       That, immediately after the accident, Mr. Labeaud exited the Trailblazer and left the scene.

That, at 11:47 a.m., Mr. Labeaud called Mr. Solomon, who then picked up Mr. Labeaud after Mr.

Labeaud fled from the Trailblazer on foot. That, following the staged accident on June 12, 2017,

Mr. Solomon and Mr. Labeaud spoke on the phone another three times that day.

                                              290).

       That, ultimately, on June 30, 2017, “Attorney A” paid Mr. Labeaud $5,000.00 for staging

the June 12, 2017, accident. That Mr. Labeaud then gave a portion of that $5,000.00 to Mr.

Solomon for his assistance with staging the accident.

                                              29(k).

       That, on June 12, 2018,“Attorney B,” an attorney who worked with “Attorney A,” filed a

personal injury lawsuit on behalf of Larry Williams, Genetta Isreal and another individual against

Southeastern Motor Freight, Inc. and its insurers, Hudson Insurance Company and Napa River

Insurance Services (“Napa”), in the Civil District Court for the Parish of Orleans in the State of

Louisiana. That, on June 27, 2018, an employee of Southeastern Motor Freight, Inc., in Jefferson,

Louisiana, sent an email that traveled across state lines to an employee of Napa in Indianapolis,

Indiana that attached the lawsuit. That furthermore, during the course of the lawsuit, “Attorney B”

made a settlement demand attempting to resolve the case via email.

                                              29(1).

       That Mr. Labeaud paid Mr. Solomon approximately $1,000.00 for serving as a “spotter” in

connection with the June 6, 2017, and June 12, 2017, staged accidents.

                                             29(m).

       That Mr. Solomon conspired to commit wire fraud by agreeing with Mr. Labeaud and


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others to cause staged accidents with 18-wheeler tractor-trailers and that Mr. Labeaud paid Mr.

Solomon for his role in serving as a “spotter”. That furthermore, Mr. Solomon knew that his co

conspirators-the passengers in these staged accidents and the attorneys representing them - would

seek to obtain monetary damages from the owners and insurers ofthose 18-wheeler tractor-trailers.

That, Mr. Solomon knew that these accidents were premised on falsehoods because they were

staged. Moreover, Mr. Solomon’s co-conspirators caused the use of interstate wire

communications to facilitate their recovery with these staged accidents.



F.     Subsequent Guilty Plea and signed confession and “Factual Basis” of Damian
       Labeaud to the Federal Indictment against him for conspiracy to commit wire fraud
       arising out of “the Larry Williams lawsuit” and “the Judy Williams lawsuit”:

                                               30.


       On or about August 6, 2020, a guilty plea was entered by Damian Labeaud for Conspiracy

to Commit Wire Fraud, in violation of Title 18, United States Code, Section 371, arising out of his

involvement in the staged accident at issue in “the Larry Williams lawsuit” arising out of the June

12, 2017, staged accident, and his involvement in the staged accident at issue in the “the Judy

Williams lawsuit” arising out of the June 6, 2017, staged accident.

                                               31.


       In the “Factual Basis” signed by Mr. Labeaud regarding his guilty plea of August 6, 2020,

Mr. Labeaud admitted to the following facts in his confession regarding the staged accidents of

June 6, 2017, and June 12, 2017, along with his involvement in numerous other staged accidents:

       1.      Mr. Labeaud’s signed confession and “Factual Basis” regarding the
               background facts of the conspiracy to commit fraud:

                                              31(a).

       That he, along with his co-conspirators and others, conspired to commit wire fraud in

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connection with staged accidents in the Eastern District of Louisiana and elsewhere, including two

that occurred on June 6, 2017, and June 12, 2017. That in or around early 2017, Mr. Labeaud met

with “Attorney A” at a restaurant to discuss Mr. Labeaud staging accidents for “Attorney A”. That

Mario Solomon was present during this meeting. That, at this meeting, “Attorney A” told Mr.

Labeaud that he wanted Mr. Labeaud to bring him staged accidents. That, consistent with Mr.

Labeaud's arrangements with other attorneys, Mr. Labeaud and “Attorney A” agreed that

 Attorney A” would pay Mr. Labeaud $1,000.00 per passenger that was involved in a staged

accident with an 18-wheeler tractor-trailer and $500.00 per passenger that was in a staged accident

that did not involve a tractor-trailer. That, per their agreement,“Attorney A” would either pay Mr.

Labeaud in advance, or would pay him for the accidents soon after they were staged. That,

’Attorney A” paid Mr. Labeaud in cash or check for staging accidents. That, as part of the scheme.

after each staged accident, Mr. Labeaud would connect the passengers with “Attorney A” so that

they could complete the necessary paperwork for “Attorney A” to represent them. That, Mr.

Labeaud understood that, as part of the scheme,“Attorney A” would instruct the passengers to be

treated by certain doctors and healthcare providers, often at an inflated cost, in order to obtain

larger settlements.

                                              31(b).

       That “Attorney A” knew that Mr. Labeaud was staging the accidents and the two would

often discuss the accidents before they happened either in person or over the phone, through calls

or text messages. That, in an effort to evade detection, “Attorney A” would, for example, direct

Mr. Labeaud to change the locations of the staged accidents, to vary the number of passengers, to

avoid talking to the police, and to avoid cameras. That, in order to conceal their activity, Mr.

Labeaud and “Attorney A” communicated regarding the staged accidents using coded language.


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For example, in text messages,“Attorney A” and Mr. Labeaud would sometimes use fishing terms

to refer to the staged accidents. As an example, on May 19, 2017, Mr. Labeaud texted “Attorney

A,” “I’m   going fishing this morning & I was trying to c if you was gd 4 now r u would like

somemore of them big bull red’s?” Attorney A” responded, “Good for now. Chat next week.’'

The following week, on May 24, 2017, Mr. Labeaud texted “Attorney A,” “Gd morning! Do u

want somemore fish 2day 4 lunch broi l” “Attorney A” responded, “Yes, sire,” and Mr. Labeaud

confirmed, “...I will have u 4 more 2day ok homiel!” On June 20, 2017, Mr. Labeaud texted

“Attorney A,” “Say bro we done here!       3 Big red’s & 2 lil trout as of now!!” On June 22, 2017,

"Attorney A” texted Mr. Labeaud asking, “. . . What do I owe you for?” Mr. Labeaud responded.

'3 last week & 2 da other day! So it’s 4 all together!!” Later in the day, “Attorney A” texted Mr.

Labeaud,“On way. Bout 10 mins. Had to stop n get some bread for the fish.”

                                               31(c).

       That, in some cases, Mr. Labeaud was the driver, or “slammer,” of the vehicle in the staged

accident, and in other cases he served as the “spotter,” or the person driving the getaway vehicle.

That, as a slammer, Mr. Labeaud would exit the vehicle in which he staged the accident

immediately after causing the collision and flee the scene. That, the most common method Mr.

Labeaud used in order to stage accidents with tractor-trailers, was to wait until the tractor-trailer

was about to make a turn or change lanes, and then speed up in order to cause a collision on the

blind side of the tractor-trailer driver. That, as a spotter, Mr. Labeaud would follow in a separate

vehicle and then pick up the slammer from the scene immediately after the accident. That, Mr.

Labeaud recruited several others, including Mario Solomon, to serve as his spotter. That, Mr.

Labeaud would pay whoever helped him with staging the accident in either the spotter or slammer

role. That, throughout the course of the conspiracy, Mr. Labeaud utilized several different spotter


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vehicles. That, the scheme also included a number of intermediaries who recruited passengers to

participate in the staged accidents. That, according to Mr. Labeaud, he staged numerous accidents

for various attorneys, including at least forty (40) staged accidents with tractor-trailers for

"Attorney A”. That, two (2) of the accidents that Mr. Labeaud staged are described by him below:

       11.
               Mr. Labeaud’s signed confession and “Factual Basis” regarding the
               conspiracy to commit fraud in the June 6, 2017, staged accident:

                                              31(d).

       That, on June 5, 2017, the day before the staged accident of June 6, 2017, Mr. Labeaud

was notified by an intermediary who recruited passengers that they were prepared to meet the

following morning to stage an accident. That, Mr. Labeaud called “Attorney A” the day before the

accident. That, on the following day, June 6, 2017, Mr. Labeaud and Mario Solomon spoke with

each other several times in order to discuss the accident that Mr. Labeaud planned to stage that

day with Mr. Solomon’s assistance as the spotter. That, prior to the accident, Mr. Labeaud and Mr.

Solomon met Lucinda Thomas, Mary Wade, Judy Williams, and Dashontae Young at a Burger

King restaurant in New Orleans. That, at approximately 10:58 a.m. that morning, Mr. Labeaud

called “Attorney A”. At approximately 12:30 p.m., Mr. Labeaud drove with Lucinda Thomas,

Mary Wade, Judy Williams and Dashontae Young in Lucinda Thomas’s vehicle, a 2009 Chevrolet

Avalanche (“the Avalanche”) east on Chef Menteur Highway in New Orleans and intentionally

collided with a 2017 Freightliner tractor-trailer that was merging onto Chef Menteur Highway.

That, Mario Solomon was following Mr. Labeaud in his silver Chevrolet Silverado pick-up truck.

                                              31(e).

       That, immediately after the accident, Mr. Labeaud exited the Avalanche and instructed

Lucinda Williams to get behind the wheel of the Avalanche to make it appear that she was driving

the vehicle at the time of the accident. That, prior to exiting the vehicle, Mr. Labeaud instructed

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the passengers to tell the police that the tractor-trailer was at fault. That, Mr. Labeaud then left the

scene of the accident. That, between 12:39 p.m. and 1:29 p.m., Mr. Labeaud and Mr. Solomon

called each other several times to coordinate Mr. Solomon picking up Mr. Labeaud in his silver

Chevrolet Silverado pick-up truck. That, at approximately 12:44 p.m., ‘‘Attorney A” sent Mr.

Labeaud a text message. That, at approximately 1:36 p.m. and 1:43 p.m., Mr. Labeaud called

 Attorney A”. At approximately 1:45 p.m., Mr. Labeaud returned to the scene of the staged

accident with Mr. Solomon. That, at that time, Mr. Labeaud made false statements to the NOPD

officers who were on the scene stating that he had witnessed the accident, and that the driver of

the 2017 Freightliner tractor-trailer had been at fault. That, at approximately 1:58 p.m., “Attorney

A” called Mr. Labeaud, and at approximately 3:06 p.m. and 3:32 p.m., Mr. Labeaud called

 Attorney A”. The purpose of these calls was to inform “Attorney A” that the accident had been

successfully staged and to arrange a meeting with the passengers and “Attorney A'k That “Attorney

A” agreed to take the staged accident.

                                                31(f).

        That, following the June 6, 2017, staged accident, Mr. Labeaud, Mario Solomon, Lucinda

Thomas, Judy Williams and Dashontae Young all met with “Attorney A” at a Raising Cane's

restaurant on Chef Menteur Highway. At this meeting, “Attorney A” discussed representation of

Lucinda Thomas, Mary Wade,Judy Williams and Dashontae Young, and all four individuals hired

“Attorney A” to represent them. That, during this meeting, “Attorney A” also paid Mr. Labeaud

$7,500.00 via check, for staging the June 6, 2017, accident and another accident. That, on or about

June 7, 2017, Mr. Labeaud cashed the $7,500.00 check he received from “Attorney A”. That, using

funds that he received from “Attorney A,” Mr. Labeaud then paid Mr. Solomon for serving as the

“spotter”.


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                                              31(g).

       That, on March 6, 2018, “Attorney A” filed a personal injury lawsuit on behalf of Lucinda

Thomas, Mary Wade and Judy Williams against SRT, Covenant, IQS Insurance Risk Retention

Group, Inc. (“IQS”)     SRT and Covenant’s insurer - seeking to obtain monetary damages in

connection with the June 6, 2017, staged accident. The lawsuit was filed in the Civil District Court

for the Parish of Orleans in the State of Louisiana and subsequently removed to the United States

District Court for the Eastern District of Louisiana, assigned Civil Action Case Number 18-2472,

and allotted to Section “A”. That, the allegations in the lawsuit were false in that they did not

contain information about how Mr. Labeaud was the driver of the Avalanche during the accident

and how he intentionally caused the June 6, 2017, accident with the 2017 Freightliner tractor-

trailer with “Attorney A’s” knowledge.

                                              31(h).

       That, sometime between September, 2018, and April, 2019, “Attorney A” contacted Mr.

Labeaud because “Attorney A” was concerned that the owner and insurer of the 2017 Freightliner

tractor trailer (Southern Refrigerated Transport, Inc. (“SRT”), Covenant Transportation Group

(“Covenant”), and IQS Insurance Risk Retention Group, Inc. (“IQS”)) uncovered information

revealing that Mary Wade and Mr. Labeaud had communicated by telephone on June 6, 2017,

prior to the staged accident. That, this fact presented an issue because “Attorney A,” Lucinda

Thomas, Mary Wade, Judy Williams and Dashontae Young had been concealing the fact that Mr.

Labeaud was more than a percipient witness in connection with the June 6, 2017, staged accident.

and had been the driver in that accident. That, in an attempt to address the issue, “Attorney A'

instructed Mr. Labeaud to contact Lucinda Thomas and Mary Wade and instruct them to “get their

stories straight.” That, during a subsequent meeting,“Attorney A” gave Mr. Labeaud an envelope


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containing phone records, pleadings and deposition establishing that Lucinda Thomas and Mary

Wade had lied under oath in their depositions, which took place on September 13, 2018.

                                               31(i).

       That, in representing Lucinda Thomas, Mary Wade, Judy Williams and Dashontae Young,

“Attorney A” caused interstate wires to be transmitted to recover monetary damages for Lucinda

Thomas, Mary Wade,Judy Williams and Deshontae Young in connection with the staged accident.

That namely “Attorney A” negotiated a settlement on behalf of Dashontae Young prior to filing a

lawsuit. That, on approximately November 27, 2017, “Attorney A” settled Dashontae Young's

claim with Covent, the parent company of SRT, which operated the 2017 Freightliner tractor-

trailer involved in the June 6, 2017,staged accident. That, in connection with that settlement, after

November 27, 2017,“Attorney A” deposited a $20,000.00 settlement check for Dashontae Young

that “Attorney A” received for settling her claim. That, in effectuating the settlement, Dashontae

Young caused Covenant to issue from its Chase account check number 50047 dated November 17,

2017, in the amount of $20,000.00. That, “Attorney A” then deposited that check into an Iberia

account. That, in depositing the check into the Iberia account, “Attorney A” caused an electronic

wire communication to be sent from Louisiana to the Federal Reserve in Atlanta, Georgia.

       111.    Mr. Labeaud’s signed confession and “Factual Basis” regarding the
               conspiracy to commit fraud in the June 12 2017, staged accident:

                                               310).

       That, on June 12, 2017, Mr. Labeaud staged another accident with the assistance of Mr.

Solomon, who served as the “spotter,” and Larry Williams, who recruited the passengers. That,

prior to the accident, Mr. Labeaud informed Larry Williams that “Attorney A” would handle

everything. That, on the morning of the accident, Larry Williams picked up Mr. Labeaud, Genetta

Isreal and another individual. That, prior to the accident, Mr. Labeaud exchanged several calls with

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Mr. Solomon to coordinate the accident. That, shortly before the accident, Mr. Labeaud called

“Attorney A”. Mr. Labeaud then drove a 2005 Chevrolet Trailblazer (“Trailblazer”) with Larry

Williams, Genetta Isreal and another individual as passengers to the Danziger Bridge and parked

the Trailblazer in the far right-lane heading east on Chef Menteur Highway to locate an 18-wheeler

tractor-trailer to collide with. That, at around the same time, Mr. Solomon waited in his Chevrolet

Silverado pick-up truck on the Danziger Bridge immediately behind the Trailblazer operated by

Mr. Labeaud. That, at approximately 11:30 a.m., Mr. Labeaud located and intentionally collided

with a 2015 Peterbilt tractor-trailer owned by Southeastern Motor Freight, Inc. driving east on

Chef Menteur Highway.

                                               31(k).

       That, immediately after the accident, Mr. Labeaud exited the Trailblazer, instructed Larry

Williams to get behind the wheel of the Trailblazer, and left the scene. That, at 11:47 a.m., Mr.

Labeaud called Mr. Solomon, who then picked up Mr. Labeaud after Mr. Labeaud fled from the

Trailblazer on foot. That, when the NOPD arrived at the scene, Mr. Williams falsely reported that

he had been the driver of the Trailblazer and that the tractor-trailer had struck his vehicle.


                                                31(1).

       That, after the accident, Mr. Labeaud contacted “Attorney A” and arranged a meeting at

“Attorney A’s'’ office. That, Mr. Labeaud, Larry Williams, Genetta Isreal and another individual

went to “Attorney A’s'’ office in order to sign the necessary paperwork to retain “Attorney A'’ to

represent Larry Williams, Genetta Isreal and another individual in connection with seeking

monetary damages from the owner and insurer of the 2015 Peterbilt tractor-trailer in connection

with the staged accident that had taken place on June 12, 2017. That, Larry Williams, Genetta

Isreal and another individual all hired “Attorney A” to represent them. That, ultimately, on June


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30, 2017, “Attorney A” paid Mr. Labeaud $5,000.00 for staging the June 12, 2017, accident and

another accident. That Mr. Labeaud then gave a portion of that $5,000.00 to Mr. Solomon for his

assistance with staging the accident.

                                             31(m).

       That, on June 12, 2018, “Attorney B,” an attorney who worked with “Attorney A,” filed a

personal injury lawsuit on behalf of Larry Williams, Genetta Isreal and another individual against

Southeastern Motor Freight, Inc. and its insurers, Hudson Insurance Company and Napa River

Insurance Services (“Napa”), in the Civil District Court for the Parish of Orleans in the State of

Louisiana. That, on June 27, 2018, an employee of Southeastern Motor Freight, Inc., in Jefferson,

Louisiana, sent an email that traveled across state lines to an employee of Napa in Indianapolis,

Indiana that attached the lawsuit. That furthermore, during the course of the lawsuit, “Attorney B”

made a settlement demand attempting to resolve the case via email. That, on December 20, 2018,

Larry Williams and Genetta Isreal provided false tesf mony in their respective depositions taken

in conjunction with the lawsuit filed by “Attorney B”.

                                              31(n).

       That Mr. Labeaud conspired to commit wire fraud by agreeing with “Attorney A” and

others to cause staged accidents with 18-wheeler tractor-trailers and that Mr. Labeaud received

payment from “Attorney A” and others for his role in staging accidents for passengers who would

subsequently become clients of“Attorney A” and other attorneys. That furthermore, Mr. Labeaud

knew that his co-conspirators - the passengers in these staged accidents and the attorneys

representing them - would seek to obtain monetary damages frim the ow'ners and insurers of those

18-wheeler tractor-trailers. That, Mr. Labeaud knew that these accidents were premised on

falsehoods because they were staged. Moreover, Mr. Labeaud’s co-conspirators caused the use of


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interstate wire communications to facilitate their recovery with these staged accidents.

G.     Southeastern Motor Freight, Inc., was a victim of a racketeering enterprise and
       scheme existing between Mr. Keating, Ms. Nugent, Nugent Keating law firm, Mr.
       Labeaud and Mr. Solomon to conspire to stage multiple accidents involving tractor
       trailers for the purpose of defrauding the owner of the tractor trailer and its insurer
       in a bodily injury claim arising out of the staged accident, and to conspire to commit
       wire fraud in connection with the staged accidents:

                                               32.


       Based upon its involvement as a Defendant in “the Larry Williams lawsuit,” Southeastern

shows, alleges and avers herein that the individual referenced in the above referenced indictments

and confessions of “Factual Basis” for the guilty pleas as “Attorney A,” is attorney D. Patrick

Keating of the Nugent Keating Personal Injury Law Firm, LLC.

                                               33.


       Based upon its involvement as a Defendant in “the Larry Williams lawsuit,” Southeastern

shows, alleges and avers herein that the individual referenced in the above referenced indictments

and confessions of “Factual Basis” for the guilty pleas as “Attorney B,” is attorney Simone R.

Nugent of the Nugent Keating Personal Injury Law Firm, LLC.

                                               34.


       At all times relevant to the claims set forth herein, Mr. Keating and Ms. Nugent were acting

on behalf of and as agents for Nugent Keating Personal Injury Law Firm, LLC.

                                               35.


       Of the eight persons indicted arising out of the staged accidents of June 6, 2017, and June

12, 2017, all but one have plead guilty and admitted to their roles in the fraudulent scheme, and

signed extensive confessions of “Factual Basis” detailing the conspiracy to commit wire fraud,

along with the facts concerning the roles of “Attorney A”/D. Patrick Keating and “Attorney

B”/Simone R. Nugent, in the fraudulent scheme. The only remaining indicted criminal defendant.

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Genetta Isreal, is currently scheduled for trial to begin on August 31, 2020, regarding the charges

of conspiracy to commit fraud arising out of the staged accident of June 12, 2017.
                                                 36.


       As set forth in the factual reasons above, there was a racketeering enterprise and scheme

existing between Mr. Keating, Ms. Nugent, Nugent Keating law firm, Mr. Labeaud and Mr.

Solomon to conspire to stage multiple accidents involving tractor trailers for the purpose of

defrauding the owner of the tractor trailer and its insurer in a bodily injury claim arising out of the

staged accident, and to conspire to commit wire fraud in connection with the staged accidents. In

fact, the “slammer” and recruiter in the staged accidents, Mr. Labeaud, the “spotter” and get away

driver in the staged accidents, Mr. Solomon, along with five (5) of the six (6) occupants of the

vehicles involved in the two (2) of the staged accidents on June 6, 2017, and June 12, 2017, have

all plead guilty to their roles in conspiracy to commit wire fraud in connection with these staged

accidents, and have signed detailed statements/factual basis outlining their roles in the scheme.

                                                 37.


       Southeastern Motor Freight, Inc., is a trucking company involved in interstate commerce.

Southeastern Motor Freight, Inc. was a victim in the staged accident of June 12, 2017, arising out

of the fraudulent scheme set forth herein, resulting in real and persona! injury and damages to

Southeastern Motor Freight, Inc., and brings the following causes of action and claims for damages

against these Defendants.




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                                    IV. CAUSES OF ACTION




                                  A. COUNT ONE - RICO I962(cl


    (Against All Defendants for Violation of Title 18, United States Code, Section 1962(c))

      1.   THE ENTERPRISE:


                                                    38.


        Plaintiff incorporates as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 37 above.

                                                    39.


        Defendants herein, D. Patrick Keating, Damian Labeaud and Mario Solomon are an

association in fact and “Enterprise" as that term is defined in Title 18, United States Code, Section

1961(4).

                                                   40.


       The Enterprise has an identifiable structure, with each member fulfilling a specific role to

carry out and facilitate its purpose as follows:

                                                   41.


        Defendant, D. Patrick Keating, established, financed, owned, operated and/or participated

in the management of law offices presenting the fraudulent claims at issue and/or in the providing

of legal services to personal injury plaintiffs for the fraudulent claims at issue in furtherance of the

Enterprise. This includes, but is not limited to: (a) recruitment of, conspiring with and paying

Damian Labeaud to recruit individuals to knowingly participate in a scheme to stage at least forty

(40) automobile accidents in the New Orleans area in an effort to defraud insurance and trucking

companies, including the staged accidents ofJune 6, 2017 and June 12, 2017,(b)directing Damian


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Labeaud to change the locations of the staged accidents, to vary the number of passengers, to avoid

talking to the police, and to avoid cameras, etc., to conceal their fraudulent activity and evade

detection of the fraudulent scheme and Enterprise; (b) conspiring with and agreeing to act as the

legal representative of and file personal injury claims and lawsuits on behalf of the individuals

which they knew were involved in staged accidents, and knowingly presenting false and fraudulent

claims on their behalf, (c) conspiring with the individuals involved in the staged accidents and

directing their medical treatment at an inflated cost in order to maximize the fraudulent recovery

of monies from the trucking company and/or insurance company, (d) conspiring with the

individuals involved in the staged accidents and suborning these individuals to commit perjury in

deposition testimony arising out of the staged accidents, (e) conspiring with the individuals

involved in the staged accidents to commit, and actually committing wire Ifaud in furtherance of

the fraudulent scheme and Enterprise, and (f) making monetary demands for settlement of

fraudulent personal injury claims arising out of the staged accident, and (g) receiving monies in

settlement of the fraudulent personal injury claims arising out of the staged accident.

                                                42.


       Defendant, Damian Labeaud, has established, financed, owned, operated and/or

participated in the fraudulent claims at issue and in furtherance of the Enterprise. This includes.

but is not limited to:(a) staging numerous accidents, including at least forty (40) staged accidents

with tractor-trailers for attorney, D. Patrick Keating, and/or attorney Simone Nugent and/or the

Nugent Keating Personal Injury Law Firm, EEC (hereinafter referred to as the Defendant

Attorneys), including but not limited to the staged accidents at issue of June 6, 2017 and June 12,

2017, (b) conspiring with and receiving payment from the Defendant Attorneys to recruit

individuals to knowingly participate in a scheme to stage at least forty (40) automobile accidents


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in the New Orleans area in an effort to defraud insurance and trucking companies, including the

staged accidents of June 6,2017 and June 12,2017,(c) actively recruiting individuals to knowingly

participate in the staged accidents,(d) acting as either the driver or “slammer” of the vehicle used

in the staged accidents including the accidents at issue of June 6, 2017, and June 12, 2017, or.

acting as the “spotter” or the person driving the getaway vehicle following the staged accident,(e)

conspiring with, recruiting and paying other individuals, including Mario Solomon, to act as

“spotter” in a staged accident, including the accidents at issue of June 6, 2017, and June 12, 2017

(f) directing the individuals who participated in the staged accidents to the Defendant Attorneys

for representation of them in the fraudulent personal injury claims and lawsuits arising out of the

staged accidents,(g) conspiring with the Defendant attorneys to change the locations of the staged

accidents, to vary the number of passengers, to avoid talking to the police, and to avoid cameras.

etc., to conceal their fraudulent activity and evade detection of the fraudulent scheme and

Enterprise,(h) knowingly lying to law enforcement officers at the scene of the staged accidents in

furtherance of the Enterprise and to deceive the law enforcement officers, (i) conspiring with the

Defendant Attorneys and the individuals involved in the staged accidents and suborning these

individuals to commit perjury in deposition testimony arising out of the staged accidents, (j)

conspiring with the Defendant Attorneys and individuals involved in the staged accidents to

commit wire fraud in furtherance of the fraudulent scheme and Enterprise, and (k) receiving

monies and payments from the Defendant Attorneys in exchange for this services and participation

in the fraudulent scheme and Enterprise.

                                                43.


       Defendant, Mario Solomon, has established, financed, owned, operated and/or participated

in the fraudulent claims at issue and in furtherance of the Enterprise. This includes, but is not


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limited to:(a) conspiring with Damian Labeaud and the Defendant Attorneys and participating in

the staging of numerous accidents, including but not limited to the staged accidents at issue of June

6, 2017 and June 12, 2017,(b) conspiring with and receiving payment from Damian Labeaud to

knowingly participate in a scheme to stage automobile accidents in the New Orleans area in an

effort to defraud insurance and trucking companies, including the staged accidents of June 6, 2017

and June 12, 2017,(c) acting as the “spotter” or the person driving the getaway vehicle following

the staged accidents including the accidents at issue of June 6, 2017, and June 12, 2017, (d)

conspiring with and accepting payment from Damian Labeaud to act as “spotter” in a staged

accident, including the accidents at issue of June 6, 2017, and June 12, 2017,(e) conspiring with

Damian Labeaud and the individuals who participated in the staged accidents to knowingly help

them participate in staged accidents for the purpose of the individuals making fraudulent personal

injury claims and lawsuits arising out of the staged accidents,(f) conspiring with Damian Labeaud

to change the locations of the staged accidents, to vary the number of passengers, to avoid talking

to the police, and to avoid cameras, etc., to conceal their fraudulent activity and evade detection of

the fraudulent scheme and Enterprise,(g)knowingly lying to law enforcement officers at the scene

of the staged accidents in furtherance ofthe Enterprise and to deceive the law enforcement officers.

(h) conspiring with Damian Labeaud, the Defendant Attorneys and individuals involved in the

staged accidents to commit wire fraud in furtheranee of the fraudulent scheme and Enterprise, and

(i) receivin   monies and payments from Damian Labeaud in exchange for this services and

participation in the fraudulent scheme and Enterprise.

                                                 44.


       The Enterprise engages in, and its activities affect, interstate commerce.




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                                                 45.


       The Defendants herein have been employed by and/or associated with the Enterprise, have

participated in the management and operation of the Enterprise, and have deliberately caused fraud

to be perpetrated upon Plaintiff and other 18-wheeler trucking companies, drivers and insurers

through the scheme of staging numerous automobile accidents throughout the New Orleans area

tor the purpose of pursuing fraudulent personal injury claims against the victims of the fraud,

which includes the staged accident of June 12, 2017, involving Plaintiff
     2.    THE PURPOSE OF THE SCHEME:


                                                46.


       The purpose ofthe scheme was to illicitly and illegally enrich the Defendants at the expense

of Plaintiff, Plaintiffs insurers and other similarly situated 18-wheeler trucking companies, drivers

and their insurers which were the victims of the numerous staged automobile accidents.

                                                47.


       As set forth at length in paragraphs 1 through 46 and incorporated herein, which includes

but it not limited to the signed confessions and “Factual Basis” of the guilty pleas of two of the

three individual Defendants herein, the scheme was to create and pursue fraudulent bodily injury

claims against 18-wheeler trucking companies, drivers and their insurers.

     3.    THE PATTERN OF RACKETERING ACTIVITIES:


                                                48.


       Defendants have knowingly conducted and/or participated, directly and indirectly, in the

conduct of the affairs of the above described Enterprise through a “pattern of racketeering activity'

as defined by Title 18, United States Code, Section 1961(5).




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                                                49.


        Such racketeering activity consists of repeated violations of the Federal Conspiracy to

Commit Wire Fraud statute, Title 18, United States Code, Section 371, arising out of the staged

accidents at issue, as set forth at length in paragraphs 1 through 47 above. Moreover, as set forth

herein, five (5) of the six (6) occupants of the two vehicles used in the staged accidents of June 6,

2017, and June 12, 2017, have plead guilty to Conspiracy to Commit Wire Fraud, along with

Defendants herein, Damian Labeaud and Mario Solomon, who were the "slammer" and “spotter"

respectively in these staged accidents.

                                                50.


        The racketeering activity also consists of repeated violations of the Federal Wire Fraud

Statute, in violation of Title 18, United States Code, Section 1343, arising out of staged accidents

at issue, as set forth at length in paragraphs 1 through 47 above, based upon the repeated interstate

telephone communications, email communications, and transfer offunds by wire and check, which

crossed state lines.


                                                51.


        These predicate acts are part of a scheme, and are not isolated events. Furthermore, the

Defendants’ pattern of racketeering activity has involved at least forty (40) staged accidents

involving multiple occupants in each accident within this specific Enterprise alone as confessed to

by Damian Labeaud, is potentially ongoing, and amounts to or poses a threat of continued criminal

activity.

      4.    INJURY TO PLAINTIFF:


                                                52.


        As a direct and proximate result of the Defendants’ conduct. Plaintiff herein. Southeastern


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Motor Freight, Inc., was injured by paying sums of money in the defense of the fraudulent bodily

injury claims as a direct result of the pattern of racketeering activity, in addition to damage to its

reputation, lost income, internal expenses, increase in insurance premiums, and other actual and

pecuniary injury and damages which will be shown at the trial on this matter. This injury is set

forth more fully in paragraphs 97 through 100 below.

                                                 53.


       By reason of their injury. Plaintiff is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to Title 18, United States Code, Section 1964(c).



                                 B. COUNT TWO - RICO 1962(d)


    (Against All Defendants for Violation of Title 18, United States Code, Section 1962(d))

                                                 54.


       Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 53 above.

                                                 55.


       Since at least 2017, Defendants willfully combined, conspired and agreed with one another

and with others to violate Title 18, United States Code, Section 1962(c), that is, to conduct and/or

participate, directly or indirectly, in the affairs of the Enterprise, the activities of which were

conducted through a pattern of racketeering activities, in violation of U.S.C. Section 1962(d).

                                                 56.


       The object of this conspiracy was to defraud Plaintiff, Plaintiffs insurers and other

similarly situated 18-wheeler trucking companies, drivers and their insurers which were the

victims of the numerous staged automobile accidents.


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                                                57.


        As a direct and proximate result of the Defendants' conduct as set forth herein, Plaintiff

herein, Southeastern Motor Freight, Inc., was injured by paying sums of money in the defense of

the fraudulent bodily injury claims as a direct result of the pattern of racketeering activity, in

addition to damage to its reputation, lost income, internal expenses, increase in insurance

premiums, and other actual and pecuniary injury and damages which will be shown at the trial on

this matter. This injury is set forth more fully in paragraphs 97 through 100 below.

                                                58.


        By reason of their injury. Plaintiff is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to Title 18, United States Code, Section 1964(c).



                           C. COUNT THREE - STATE LAW FRAUD


                     (Against All Defendants for Louisiana State Law Fraud

                       in accordance with La. Civ. Code Art. 1953 et secj)

                                                59.


       Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 58 above.

                                                60.


       Since at least 2017, Defendants, personally or through their agents acting at their direction

(such as the individual occupants of the vehicles voluntarily participating in the staged accidents

for the purpose of making fraudulent bodily injury claims), have made or caused to be made false

and fraudulent material misrepresentations offact to Plaintiff(and other similarly situated entities)

with the intention of obtaining an unjust advantage in the personal injury lawsuit against Plaintiff


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(and other similarly situated entities) and to cause a pecuniary loss to Plaintiff through settlement

or judgment against Plaintiff in the personal injury lawsuit against Plaintiff Specifically,

Defendants, personally or through their agents, have made false and misleading statements and

representations concerning how the “accident” at issue occurred, that the accident was caused by

the operator of the 18-wheeler while intentionally withholding the information that the accident

was intentionally caused and staged by Defendants, in addition to the numerous other fraudulent

material misrepresentations cited herein in paragraphs 1 through 58 which are incorporated as

though fully set forth herein, and those which will be proven at the trial on this matter. These

material misrepresentations and suppression of the truth of Defendants are in violation of the

provisions of La. Civ. Code art. 1953, e/ seq.

                                                   61.


        These misrepresentations and suppression of the truth were conveyed to Plaintiff through

documents which include, but are not limited to, the police report issued arising out of this

accident, representation letters issued by the Defendant Attorneys in the underlying lawsuits.

attorney demand letters issued in the underlying lawsuits matter, discovery responses issued in the

underlying lawsuits, deposition testimony given in the underlying lawsuits, and medical and billing

records issued in the underlying lawsuits.

                                                  62.


        At the time the statements and representations were made, Defendants in this matter were

aware of the falsity of the misrepresentations.

                                                  63.


        Defendants in this matter made the misrepresentations with the intent to deeeive Plaintiff,

and with the intent that Plaintiff would act on the misrepresentations by paying Defendants sums


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of money in settlement of claims.

                                               64.


       As a direct and proximate result of the Defendants' fraudulent conduct and

misrepresentations as set forth herein, Plaintiff herein, Southeastern Motor Freight, Inc., was

injured by paying sums of money in the defense of the fraudulent bodily injury claims as a direct

result of the intentional fraudulent misrepresentation of Defendants herein, in addition to damage

to its reputation, lost income, internal expenses, increase in insurance premiums, and other actual

and pecuniary injury and damages which will be shown at the trial on this matter. This injury is

set forth more fully in paragraphs 97 through 100 below.

                                               65.


       Plaintiff herein is also entitled to attorneys’ fees and costs arising from the damages

suffered by Defendants’ intentional fraudulent misrepresentations.

                                               66.


       Plaintiff specifically pleads herein the doctrine of contra non valenlum regarding the

Louisiana State Court Fraud claims herein. As set forth herein within paragraphs 1 through 38

above. Plaintiff had insufficient evidence to support the involvement of Defendants in this

fraudulent scheme, particularly the involvement of the Attorney Defendants, until at the earliest

October, 2019, when the Federal Prosecutor issued an indictment in October, 2019, alleging their

involvement. Moreover, Plaintiff did not have justifiable evidence to bring these claims against

Defendants, particularly the involvement of the Attorney Defendants, until the guilty plea of

Damian Labeaud and the confession and “Factual Basis” signed by Damian Labeaud in August,

2020, wherein Mr. Labeaud admitted to the fraudulent scheme and set forth the significant factual

basis for the same of how the fraudulent scheme, which Plaintiff was previously unaware. Plaintiff


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was unaware of the role of the Defendants, and specifically the Attorney Defendants, as a direct

result of the Defendants intentional concealment, misrepresentation, fraud and ill practices of the

same. Plaintiff specifically pleads and avers that the prescriptive period regarding the Louisiana

State Court Fraud claims was suspended pursuant to the doctrine of contra non valenlum.



      D. COUNT FOUR - STATE LAW CONSPIRACY TO COMMIT INTENTIONAL

                                 STAGED ACCIDENTS AND ERAUD


   (Against All Defendants for Louisiana State Law Conspiracy to Commiit Intentional Staged

         Accidents and Fraud Claims in accordance with La. Civ. Code Art. 2324 et seq.)

                                                67.


       Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 66 above.

                                                68.


       Since at least 2017, Defendants, personally or through their agents acting at their direction

(such as the individual occupants of the vehicles voluntarily participating in the staged accidents

for the purpose of making fraudulent bodily injury claims), have willfully combined, conspired

colluded and agreed with each other and others to commit an intentional and willful acts of causing

an intentionally staged automobile collision with Plaintiff (and other similarly situated entities),

and have willfully combined, conspired, colluded and agreed with each other and others to

intentionally and willfully defraud Plaintiff(and other similarly situated entities) through bringing

fraudulent personal injury claims arising from these intentionally staged and fraudulent accidents.

Specifically, Defendants have conspired to intentionally cause a staged automobile accident on

June 12, 2017 involving Plaintiff(and other staged accidents), have conspired to make false and


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fraudulent material misrepresentations of fact to Plaintiff (and other similarly situated entities)

with the intention of obtaining an unjust advantage in the personal injury lawsuit against Plaintiff

(and other similarly situated entities) and to cause a pecuniary loss to Plaintiff through settlement

or judgment against Plaintiff in the personal injury lawsuit against Plaintiff, in addition to the

numerous other intentional and willful acts and fraudulent material misrepresentations arising from

the conspiracy among the Defendants which is cited herein in paragraphs 1 through 66 which are

incorporated as though fully set forth herein, and those which will be proven at the trial on this

matter. These conspiracies among the Defendants to commit these intentional and willful acts, and

conspiracy to commit material misrepresentations and suppression of the truth of Defendants, are

in violation of the provisions of La. Civ. Code art. 2324, et seq.

                                                 69.


        Defendants in this matter conspired with one another in this matter to commit the

intentional and willful acts set forth herein against Plaintiff(and other similarly situated entities).

In accordance with La. Civ. Code art. 2324, et seq., Defendants are liable, in solido, for the damage

caused by intentional and willful acts set forth herein to Plaintiff

                                                 70.


        As a direct and proximate result of the Defendants’ conspiracy to commit the fraudulent

conduct and misrepresentations as set forth herein. Plaintiff herein. Southeastern Motor Freight,

Inc., was injured by paying sums of money in the defense of the fraudulent bodily injury claims as

a direct result of the intentional fraudulent misrepresentation of Defendants herein, in addition to

damage to its reputation, lost income, internal expenses, increase in insurance premiums, and other

actual and pecuniary injury and damages which will be shown at the trial on this matter. This injury

is set forth more fully in paragraphs 97 through 100 below.


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                                               71.


       Plaintiff herein is also entitled to attorneys’ fees and costs arising from the damages

suffered by Defendants’ conspiracy to commit the intentional fraudulent conduct and

misrepresentations.

                                               72.


       Plaintiff specifically pleads herein the doctrine of contra non valentum regarding the

Louisiana State Court Conspiracy to Commit Intentional Staged Accidents and Fraud claims

herein. As set forth herein within paragraphs 1 through 38 above, Plaintiff had insufficient

evidence to support the involvement of Defendants in this conspiracy and fraudulent scheme,

particularly the involvement of the Attorney Defendants, until at the earliest October, 2019, when

the Federal Prosecutor issued an indictment in October, 2019, alleging their involvement.

Moreover, Plaintiff did not have justifiable evidence to bring these claims against Defendants,

particularly the involvement of the Attorney Defendants, until the guilty plea of Damian Labeaud

and the confession and “Factual Basis” signed by Damian Labeaud in August, 2020, wherein Mr.

Labeaud admitted to the fraudulent scheme and set forth the significant factual basis for the same

of how the fraudulent scheme, which Plaintiff was previously unaware. Plaintiff was unaware of

the role of the Defendants, and specifically the Attorney Defendants, as a direct result of the

Defendants intentional concealment, misrepresentation, fraud and ill practices of the same.

Plaintiff specifically pleads and avers that the prescriptive period regarding the Louisiana State

Court Fraud claims was suspended pursuant to the doctrine     contra non valentum.




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         E. COUNT FIVE - LOUISIANA RACKETEERING ACT - La. R.S. 15:1353(A)

             (Against All Defendants for violation of the Louisiana Racketeering Act

                              in accordance with La. R.S. 15;1353(A))

                                                 73.


         Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 72 above.

                                                 74.


         The above-identified Defendants knowingly and intentionally received proceeds directly.

or indirectly, through a pattern of racketeering activity in Louisiana as set forth above, to use or

invest, directly or indirectly some or all of the proceed derived from the pattern of racketeering

activity to acquire an interest in property or to establish or operate an Enterprise as set forth above

in violation of the provisions of La. R.S. 15:1353(A).

                                                 75.


         As a direct and proximate result of the Defendants’ intentional, willful and wanton actions

while engaged in the racketeering activities in violation of the provisions of La. R.S. 15:1353(A),

as set forth above, Plaintiff was injured by paying sums of money in the defense of the fraudulent

bodily injury claims, in addition to damage to its reputation, lost income, internal expenses,

increase in insurance premiums, and other actual and pecuniary injury and damages which will be

shown at the trial on this matter, including treble damages and punitive damages, for which

Defendants are liable, in solido. This injury is set forth more fully in paragraphs 97 through 100

below.


                                                 76.


         In accordance with the provisions of La. R.S. 15:1356 el seq., Plaintiff herein is also


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entitled to recover treble damages of three times the actual damages sustained or ten thousand

dollars, whichever is greater, arising from the Defendants’ intentional, willful and wanton actions

while engaged in the racketeering activities in violation of the provisions of La. R.S. 15:1353(A)

as set forth above, in addition to attorneys’ fees and costs incurred in the investigation and litigation
of the same.




        F. COUNT SIX - LOUISIANA RACKETEERING ACT - La. R.S. 15:1353(B)

             (Against All Defendants for violation of the Louisiana Racketeering Act

                              in accordance with La. R.S. 15:1353(8))

                                                  77.


       Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 76 above.

                                                  78.


       The Defendants have knowingly acquired or maintained, directly or indirectly, an interest

in or control of an Enterprise through a pattern of racketeering activity in the State of Louisiana as

set forth above in violation of the provisions of La. R.S. 15:1353(8).

                                                  79.


        As a direct and proximate result of the Defendants’ intentional, willful and wanton actions

while engaged in the racketeering activities in violation of the provisions of La. R.S. 15:1353(8)

as set forth above. Plaintiff was injured by paying sums of money in the defense of the fraudulent

bodily injury claims, in addition to damage to its reputation, lost income, internal expenses,

increase in insurance premiums, and other actual and pecuniary injury and damages which will be

shown at the trial on this matter, including treble damages and punitive damages, for which


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Defendants are liable, in solido. This injury is set forth more fully in paragraphs 97 through 100
below.


                                                  80.


         In accordance with the provisions of La. R.S. 15:1356 el seq.. Plaintiff herein is also

entitled to recover treble damages of three times the actual damages sustained or ten thousand

dollars, whichever is greater, arising from the Defendants’ intentional, willful and wanton actions

while engaged in the racketeering activities in violation of the provisions of La. R.S. 15:1353(6)

as set forth above, in addition to attorneys’ fees and costs incurred in the investigation and litigation
of the same.




      G. COUNT SEVEN - LOUISIANA RACKETEERING ACT - La. R.S. 15:1353(0

             (Against All Defendants for violation of the Louisiana Racketeering Act

                              in accordance with La. R.S. 15:1353(C))

                                                  81.


         Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 80 above.

                                                  82.


         The Defendants, individually and/or collectively, are associated with an Enterprise as set

forth above, and have knowingly conducted or participated, directly or indirectly, in the activities

of that Enterprise through a pattern of racketeering activity in violation of the provisions of La.

R.S. 15:1353(C).

                                                  83.


         As a direct and proximate result of the Defendants’ intentional, willful and wanton actions


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while engaged in the racketeering activities in violation of the provisions of La. R.S. 15:1353(C)

as set forth above, Plaintiff was injured by paying sums of money in the defense of the fraudulent

bodily injury claims, in addition to damage to its reputation, lost income, internal expenses,

increase in insurance premiums, and other actual and pecuniary injury and damages which will be

shown at the trial on this matter, including treble damages and punitive damages, for which

Defendants are liable, in solido. This injury is set forth more fully in paragraphs 97 through 100
below.


                                                  84.


         In accordance with the provisions of La. R.S. 15:1356 et seq.. Plaintiff herein is also

entitled to recover treble damages of three times the actual damages sustained or ten thousand

dollars, whichever is greater, arising from the Defendants’ intentional, wailful and wanton actions

while engaged in the racketeering activities in violation of the provisions of La. R.S. 15:1353(C)

as set forth above, in addition to attorneys’ fees and costs incurred in the investigation and litigation

of the same.




             H. COUNT EIGHT - CONSPIRACY TO VIOLATE THE LOUISIANA


                         RACKETEERING ACT - La. R.S. 15:1353(A) and (D)


             (Against All Defendants for violation of the Louisiana Racketeering Act

     in accordance with La. R.S. 15:1353(D) by conspiracy to violate La. R.S. 15:1353(A))

                                                  85.


         Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 84 above.




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                                                 86.


       The Defendants knowingly and intentionally have conspired with one another and

attempted to receive proceeds directly, or indirectly, through a pattern of racketeering activity in

Louisiana as set forth above, to use or invest, directly or indirectly some or all of the proceed

derived from the pattern of racketeering activity to acquire an interest in property or to establish

or operate an Enterprise as set forth above in violation of the provisions of La. R.S. 15:1353 (D),

by conspiracy to violate the provisions of La. R.S. 15:1353(A).

                                                 87.


       As a direct and proximate result of the Defendants’ intentional, willful and wanton actions

and conspiracy to commit these intentional, willful and wanton actions while engaged in the

racketeering activities in violation of the provisions of La. R.S. 15:1353(A) and (D) as set forth

above. Plaintiff was injured by paying sums of money in the defense of the fraudulent bodily injury

claims, in addition to damage to its reputation, lost income, internal expenses, increase in insurance

premiums, and other actual and pecuniary injury and damages which will be shown at the trial on

this matter, including treble damages and punitive damages, for which Defendants are liable, in

solido. This injury is set forth more fully in paragraphs 97 through 100 below.

                                                 88.


       In accordance with the provisions of La. R.S. 15:1356 el seq., Plaintiff herein is also

entitled to recover treble damages of three times the actual damages sustained or ten thousand

dollars, whichever is greater, arising from the Defendants’ intentional, willful and wanton actions

and conspiracy to commit these intentional, willful and wanton actions while engaged in the

racketeering activities in violation of the provisions of La. R.S. 15:1353(A) and (D) as set forth

above, in addition to attorneys’ fees and costs incurred in the investigation and litigation of the


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same.




             I. COUNT NINE - CONSPIRACY TO VIOLATE THE LOUISIANA

                        RACKETEERING ACT - La. R.S. 15:1353(B) and (D)


            (Against All Defendants for violation of the Louisiana Racketeering Act

     in accordance with La. R.S. 15:1353(D) by conspiracy to violate La. R.S. 15:1353(8))

                                                 89.


        Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 88 above.

                                                 90.


        The Defendants have knowingly conspired with one another and attempted to acquire or

maintain, directly or indirectly, an interest in or control of an Enterprise through a pattern of

racketeering activity in the State of Louisiana as set forth above in violation of the provisions of

La. R.S. 15:1353(D), by conspiracy to violate the provisions of La. R.S. 15:1353(8).

                                                 91.


        As a direct and proximate result of the Defendants’ intentional, willful and wanton actions

and conspiracy to commit these intentional, willful and wanton actions while engaged in the

racketeering activities in violation of the provisions of La. R.S. 15:1353 (8) and (D) as set forth

above. Plaintiff was injured by paying sums of money in the defense of the fraudulent bodily injury

claims, in addition to damage to its reputation, lost income, internal expenses, increase in insurance

premiums, and other actual and pecuniary injury and damages which will be shown at the trial on

this matter, including treble damages and punitive damages, for which Defendants are liable, in

solido. This injury is set forth more fully in paragraphs 97 through 100 below.


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                                                 92.


        In accordance with the provisions of La. R.S. 15:1356 et seq., Plaintiff herein is also

entitled to recover treble damages of three times the actual damages sustained or ten thousand

dollars, whichever is greater, arising from the Defendants’ intentional, willful and wanton actions

and conspiracy to commit these intentional, willful and wanton actions while engaged in the

racketeering activities in violation of the provisions of La. R.S. 15:1353(B) and (D) as set forth

above, in addition to attorneys’ fees and costs incurred in the investigation and litigation of the
same.




             J. COUNT TEN - CONSPIRACY TO VIOLATE THE LOUISIANA

                        RACKETEERING ACT - La. R.S. 15:1353(0 and (D)


            (Against All Defendants for violation of the Louisiana Racketeering Act

     in accordance with La. R.S. 15:1353(D) by conspiracy to violate La. R.S. 15;1353(C))

                                                93.


        Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 92 above.

                                                94.


        The Defendants, individually and/or collectively, are associated with an Enterprise as set

forth above, and have knowingly conspired with one another and attempted to conduct or

participate, directly or indirectly, in the activities of that Enterprise through a pattern of

racketeering activity in violation of the provisions ofLa. R.S. 15:1353(D), by conspiracy to violate

the provisions of La. R.S. 15:1353(C).




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                                                 95.


        As a direct and proximate result of the Defendants’ intentional, willful and wanton actions

and conspiracy to commit these intentional, willful and wanton actions while engaged in the

racketeering activities in violation of the provisions of La. R.S. 15:1353(C) and (D) as set forth

above. Plaintiff was injured by paying sums of money in the defense of the fraudulent bodily injury

claims, in addition to damage to its reputation, lost income, internal expenses, increase in insurance

premiums, and other actual and pecuniary injury and damages which will be shown at the trial on

this matter, including treble damages and punitive damages, for which Defendants are liable, in

solido. This injury is set forth more fully in paragraphs 97 through 100 below.

                                                 96.


        In accordance with the provisions of La. R.S. 15:1356 et seq.. Plaintiff herein is also

entitled to recover treble damages of three times the actual damages sustained or ten thousand

dollars, whichever is greater, arising from the Defendants’ intentional, willful and wanton actions

and conspiracy to commit these intentional, willful and wanton actions while engaged in the

racketeering activities in violation of the provisions of La. R.S. 15:1353(C) and (D) as set forth

above, in addition to attorneys’ fees and costs incurred in the investigation and litigation of the

same.



                                          V. DAMAGES


                                                 97.


        Plaintiff incorporates, as though fully set forth herein, each and every allegation contained

in paragraphs 1 through 96 above.

                                                 98.


        Plaintiff has been damaged by Defendants’ practices outlined in this Complaint. These


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include, but are not limited to, Defendants’ intentionally causing and conspiring to cause a staged

accident involving the use of a motor vehicle to crash into a tractor-trailer owned by Plaintiff and

operated by Plaintiff s employee on June 12, 2017,for the purpose of fraudulently manufacturing

bodily injury claims on behalf of the four occupants of the vehicle who were also knowingly

complicit in the fraudulently staged accident and Enterprise, and directing the medical treatment

ot the occupants at inflated costs to further the Enterprise to attempt to increase the fraudulent

damages.

                                                 99.


       Plaintiff herein was forced to pay substantial attorney’s fees, costs and expenses in the

investigation and defense of the lawsuit filed against Plaintiff and Plaintiffs employee driver by

Defendants on behalf of the three occupants of the staged accident of June 12, 2017, in addition to

damage to its reputation, lost income, internal expenses, increase in insurance premiums, and other

actual and pecuniary injury and damages which will be shown at the trial on this matter, including

treble damages and punitive damages as allowed by law, all for which Defendants are liable herein,

in solido.


                                                100.


       Plaintiff is also entitled herein to a damage award against Defendants for all attorney’s fees.

costs and expenses incurred in investigating and litigating these instant claims against Defendants,

for which Defendants are liable, in solido.




                                      VI. JURY DEMAND


                                                101.


       Trial by jury is requested on all issues triable by jury.


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                                     PRAYER FOR RELIEF


         WHEREFORE, premises considered, Plaintiff, Southeastern Motor Freight, Inc.,

respectfully requests that upon final trial of this cause, the Court enter a judgment against

Defendants, in solido, as follows:

   (1)    Upon the First Claim for Relief, all damages resulting from Defendants' violation of Title
          18, United States Code, Section 1962(c), including prejudgment interest, costs, expenses,
          and attorneys’ fees, the sum trebled pursuant to Title 18, United States Code, Section
          1964(c);

   (2)    Upon the Second Claim for Relief, all damages resulting from Defendants’ violation of
          Title 18, United States Code, Section 1962(d), by conspiracy to violate Title 18, United
          States Code, Section 1962(c), including prejudgment interest, costs, expenses, and
          attorneys’ fees, the sum trebled pursuant to Title 18, United States Code, Section 1964(c);

   (3)    Upon the Third Claim for Relief, all damages resulting from Defendants’ fraudulent
          conduct including but not to damages resulting from Defendants’ violation of La. Civ.
          Code art. 1953, et seq., including prejudgment interest, costs, expenses, and attorneys’
          fees;

   (4)    Upon the Fourth Claim for Relief, all damages resulting from Defendants’ conspiracy to
          commit intentional staged accidents and fraud claims, including but not to damages
          resulting from Defendants’ violation of La. Civ. Code art. 2324, et seq., including
          prejudgment interest, costs, expenses, and attorneys’ fees;

   (5)    Upon the Fifth Claim for Relief, all damages resulting from Defendants’ violation of La.
          R.S. 15:1353(A), including prejudgment interest, costs, expenses, and attorneys’ fees,
          the sum trebled pursuant to La. R.S. 15:1356 et seq.\

   (6)    Upon the Sixth Claim for Relief, all damages resulting from Defendants’ violation of La.
          R.S. 15:1353(B), including prejudgment interest, costs, expenses, and attorneys’ fees, the
          sum trebled pursuant to La. R.S. 15:1356 et seq..'

   (7)    Upon the Seventh Claim for Relief, all damages resulting from Defendants’ violation of
          La. R.S. 15:1353(C), including prejudgment interest, costs, expenses, and attorneys’ fees,
          the sum trebled pursuant to La. R.S. 15:1356 et seq.'.

   (8)    Upon the Eighth Claim for Relief, all damages resulting from Defendants’ violation of
          La. R.S. 15:1353(D), by conspiracy to violate La. R.S. 15:1353(A), including
          prejudgment interest, costs, expenses, and attorneys’ fees, the sum trebled pursuant to
          La. R.S. 15:1356 et seq.'.
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(9) Upon the Ninth Claim for Relief, all damages resulting from Defendants’ violation of La.
    R.S. 15:1353(D), by conspiracy to violate La. R.S. 15:1353(B), including prejudgment
    interest, costs, expenses, and attorneys’ fees, the sum trebled pursuant to La. R.S. 15:1356
      el seq.\ and

(10) Upon the Tenth Claim for Relief, all damages resulting from Defendants’ violation of
     La. R.S. 15:1353(D), by conspiracy to violate La. R.S. 15:1353(C), including
     prejudgment interest, costs, expenses, and attorneys’ fees, the sum trebled pursuant to
     La. R.S. \5-.U56 el seq.



                                           Respectfully submitted:
                                           BREAZEALE, SACHSE & WILSON, L.L.P.
                                           One American Place, 23’^^ Floor
                                           Post Office Box 3197
                                           Baton Rouge, Louisiana 70821-3197
                                           Telephone: 225-387-4000
                                           Fax: 225-381-8029
                                           E: doug.williams(@bswllp.com;
                                           chris.mason(@bswllp.com
                                          /s/ Douglas K. Williams
                                           Douglas K. Williams, T.A., La Bar Roll No. 2187
                                           Christopher A. Mason, La Bar Roll No. 29328
                                           Kelsey A. Clark, La. Bar Roll No. 36413
                                           Katherine M. Cook, La. Bar Roll No. 37640
                                           Altorneys for Plainliff. Soiilheaslern Molor
                                           Freighl, Inc.




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